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 1                                 UNITED STATES DISTRICT COURT
 2                                         DISTRICT OF NEVADA
 3                                                   ***
 4     UNITED STATES OF AMERICA,                            Case No. 2:14-cr-00099-APG-PAL
 5                            Plaintiff,
                                                            ORDER TEMPORARILY STAYING
 6           v.                                             CASE
 7     MICHAEL KNAPP,                                       (ECF No. 117)
 8                            Defendant.
 9

10           On June 27, 2016, the Supreme Court granted certiorari in Beckles v. United States, Case

11    Number 15-8544, to decide, in relevant part, whether the holding in Johnson v. United States, 135

12    S. Ct. 2551 (2015) applies to the residual clause of the career offender guideline in United States

13    Sentencing Guidelines (“U.S.S.G.”) § 4B1.2(a)(2), and if so, whether Johnson’s invalidation of

14    the residual clause applies retroactively on collateral review. On November 28, 2016, the

15    Supreme Court heard oral argument in Beckles and the case was submitted for review. Given this

16    development and Beckles’s direct relevance to the pending motion in this case, and given

17    defendant Knapp’s unopposed motion to stay (ECF No. 117), I will stay all proceedings in this

18    case pending the Supreme Court’s decision in Beckles.

19           IT IS THEREFORE ORDERED defendant Michael Knapp’s motion for joinder staying

20    case (ECF No. 117) is GRANTED.

21           IT IS FURTHER ORDERED that this case is STAYED until the Supreme Court issues a

22    decision in Beckles v. United States, Case Number 15-8544. Once the decision issues, any party

23    may move to lift the stay.

24           DATED this 28th day of February, 2017.

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26                                                         ANDREW P. GORDON
                                                           UNITED STATES DISTRICT JUDGE
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